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 1   JAMES M. WAGSTAFFE (95535)
     wagstaffe@wvbrlaw.com
 2   MICHAEL VON LOEWENFELDT (178665)
     mvl@wvbrlaw.com
 3   WAGSTAFFE, VON LOEWENFELDT,
     BUSCH & RADWICK LLP
 4   100 Pine Street, Suite 725
     San Francisco, CA 94111
 5   Telephone: (415) 357-8900
     Fax: (415) 357-8910
 6
     Attorneys for Plaintiff
 7   SANFORD WADLER
 8

 9   JOHN M. POTTER (Bar No. 165843)
     johnpotter@quinnemanuel.com
10   QUINN EMANUEL URQUHART & SULLIVAN, LLP
     50 California Street, 22nd Floor
11   San Francisco, CA 94111
     Telephone: (415) 875-6600
12   Facsimile: (415) 875-6700
     Attorneys for Defendants
13
     BIO-RAD LABORATORIES, INC. AND
14
     NORMAN SCHWARTZ
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16                                 UNITED STATES DISTRICT COURT
17                                NORTHERN DISTRICT OF CALIFORNIA
18                                    SAN FRANCISCO DIVISION
19   SANFORD S. WADLER, an individual,            Case No. 3:15-cv-02356-JCS
20                  Plaintiff,
                                                  [PROPOSED] JUDGMENT AFTER
21                                                APPEAL
            v.
22
     BIO-RAD LABORATORIES, INC.,
23   a Delaware Corporation, and NORMAN
     SCHWARTZ, an individual,
24

25                  Defendants.

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 1                            [PROPOSED] JUDGMENT AFTER APPEAL
 2          In this action, Plaintiff Sanford S. Wadler asserted against Defendants Bio-Rad
 3   Laboratories, Inc. (“Bio-Rad”) and Norman D. Schwartz claims for (1) retaliation in violation of
 4   18 U.S.C. § 1514A (Sarbanes-Oxley), and (2) retaliation in violation of 15 U.S.C. § 78u-6
 5   (Dodd-Frank). Plaintiff also asserted against Bio-Rad claims for (3) retaliation in violation of
 6   California Labor Code § 1102.5, (4) wrongful termination in violation of public policy, (5)
 7   nonpayment of wages under Cal. Labor Code §§ 201, 227.3, and (6) waiting time penalties under
 8   Cal. Labor Code § 203. The parties stipulated to dismiss Plaintiff’s third, fifth, and sixth claims.
 9          Plaintiff’s first, second, and fourth claims came on for trial before a jury, the Honorable
10   Joseph C. Spero, United States Magistrate Judge, presiding, the jury rendered its verdict, and
11   judgment was entered on February 10, 2017. On February 26, 2019, the Ninth Circuit Court of
12   Appeals issued its Opinion vacating in part, affirming in part, and remanding this action.
13          As directed by, and consistent with, the mandate of the Ninth Circuit, the Court enters the
14   following judgment on Plaintiff’s second and fourth causes of action. Judgment on these claims
15   is final and not subject to further appeal, and there is no just reason for delay in entering this
16   judgment. See Fed. R. Civ. P. 54(b).
17          THUS, IT IS ORDERED AND ADJUDGED
18          On the second cause of action, that judgment is entered for Defendants Bio-Rad
19   Laboratories, Inc. and Norman D. Schwartz.
20          On the fourth cause of action, that judgment is entered for Plaintiff Sanford S. Wadler
21   against Bio-Rad Laboratories, Inc, and that Plaintiff shall recover:
22          1. From Bio-Rad Laboratories, Inc., the sum of $2,960,000, with prejudgment interest of
23              $70,804 and post-judgment interest thereon, running from February 10, 2017, as
24              provided by 28 U.S.C. §1961;
25          2. From Bio-Rad Laboratories, Inc. the additional sum of $5,000,000, with post-
26              judgment interest thereon, running from February 10, 2017, as provided by 28 U.S.C.
27              §1961; and
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 1          3. From Bio-Rad Laboratories, Inc., compensation for litigation costs, as provided by
 2              law, in amounts to be later determined by the Court.
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 5   DATED: ___________________
              June 6, 2019                               _______________________________
                                                         HON. JOSEPH C. SPERO
 6                                                       United States Magistrate Judge
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     Case No. 3:15-cv-02356-JCS                                           JUDGMENT AFTER APPEAL
